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                                  CIVIL MINUTE ENTRY



    BEFORE:               Magistrate Judge Steven L. Tiscione

                         July 7, 2023
    DATE:

                         2:00 P.M.
    TIME:

    DOCKET               CV-18-819 (NRM)
    NUMBER(S):
    NAME OF              Besedin v. County of Nassau et al.
    CASE(S):

    FOR                  Brewington
    PLAINTIFF(S):
    FOR                  Meehan, Reissman
    DEFENDANT(S):

    NEXT           See rulings below
    CONFERENCE(S):

    FTR/COURT     Not Recorded
    REPORTER:
    RULINGS FROM Settlement Conference                  :
   Settlement discussions were held but the parties were unable to reach a disposition at this
   time. Parties shall complete the remaining expert deposition and all other discovery by July
   31, 2023. The deadline for beginning dispositive motion practice is August 31, 2023. If
   neither party intends to file dispositive motions, the parties shall confer and submit a
   proposed date for filing the Joint Pretrial Order.
